Case 1:15-cr-00381-RJD-RER Document 135 Filed 01/25/17 Page 1 of 2 PageID #: 964



                                                 U.S. Department of Justice

                                                 United States Attorney
                                                 Eastern District of New York

 WK                                              271 Cadman Plaza East
 F.#2012R00103                                   Brooklyn, New York 11201



                                                 January 25, 2017


 By ECF & Fedex

 Steven Brill, Esq.
 Sullivan Brill
 115 Broadway, 17th Floor
 New York, New York 10006

                       Re:    United States v. Vitaly Korchevsky
                              Criminal Docket No. 15-381 (RJD)

                Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, the government
 hereby furnishes the following discovery with respect to the above-referenced matter. The
 enclosed supplements the government’s previous discovery productions. Please note that the
 enclosed materials are being produced subject to the protective order entered by the Court on
 January 5, 2016. The government reiterates its previous requests for reciprocal discovery.
               The enclosed encrypted disc contains:

                   •   August 7, 2015 search warrant and application in connection with the
                       search of the defendant’s residence in Glen Mills, Pennsylvania (VK-
                       000055694-55728); and
Case 1:15-cr-00381-RJD-RER Document 135 Filed 01/25/17 Page 2 of 2 PageID #: 965




                   •   August 10, 2015 search warrant and application in connection with a
                       residence in Suwanee, Georgia (VK-000055729-55756).
               If you have any questions, please do not hesitate to contact us.
                                                     Very truly yours,


                                                     ROBERT L. CAPERS
                                                     United States Attorney

                                             By:                /s/
                                                     Whitman G.S. Knapp
                                                     Richard M. Tucker
                                                     Una A. Dean
                                                     Assistant U.S. Attorneys
                                                     (718) 254-6107/6204/6473

 Enclosure (not filed on ECF)

 c.c.: Clerk of the Court (RJD) (by ECF)




                                                 2
